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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )                  8:12CR135
                     Plaintiff,              )
                                             )
       vs.                                   )                   ORDER
                                             )
GREGORIO SMITH,                              )
                                             )
                     Defendant.              )
       This matter is before the court on the motion to continue by defendant Gregorio
Smith (Smith) (Filing No. 44). Smith seeks a continuance of the trial of this matter which
is scheduled for August 27, 2012. Smith’s counsel has represented to the court that Smith
will submit an affidavit wherein Smith represents that he consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act. Smith’s counsel represents that government’s counsel has no
objection to the motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Smith's motion to continue trial (Filing No. 44) is granted.
       2.     Trial of this matter is re-scheduled for October 1, 2012, before Judge Joseph
F. Bataillon and a jury. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between August 20,
2012, and October 1, 2012, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason that defendants' counsel
require additional time to adequately prepare the case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 20th day of August, 2012.
                                                 BY THE COURT:

                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
